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 1

 2   Your Name:                Scott Feamster
     Address:                  230 Park Lane
 3                             Atherton, CA 94027-5411
     Phone Number:             650) 245-2613 and (650) 740-0610
 4   E-mail Address:           matrixpfw@earthlink.net and cfeamster@gmail.com

 5
     Pro Se Plaintiff
 6
                                IN THE UNITED STATES DISTRICT COURT
 7
          FOR THE NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
 8

 9                                                  )
     SCOTT FEAMSTER, an individual,                 ) Case Number: 18-CV-01327-HSG
10                                                  )
                        Plaintiff,                  ) STIPULATION AND ORDER TO
11                                                  )ENTER PHOTOS INTO
            vs.                                     )EVIDENCE
12                                                  )
     GACO WESTERN, LLC, d/b/a                       ) Date:         June 13, 2022
13   GACO WESTERN, a Limited Liability              ) Time:
     Company, and DOES 1-100,                       ) Courtroom:    Fourth Floor, Courtroom 2
14                                                  ) Judge:        Hon. Haywood S. Gilliam, Jr.
                        Defendants.                 ) Action Filed: February 18, 2018
15                                                  )
                                                    )
16                                                  )
                                                    )
17                                                  )
                                                    )
18                                                  )
                                                    )
19                                                  )

20
     Whereas, the attached photos were presented as evidence during the Trial of Scott Feamster vs.
21
     Gaco Western, LLC, held on May 19-20, 2022, Case No. 18-CV-01327-HSG;
22

23   Whereas, the Court directed parties to meet and confer regarding a stipulation to enter photos
24   into evidence;

25
     Whereas, a meet and confer was conducted and the parties agreed to enter the attached photos
26
     into evidence.
27

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                                                 Page 1 of 2
     STIPULATION AND ORDER TO ENTER PHOTOS INTO EVIDENCE                       Case No. 18-CV-01327-HSG
          Case 4:18-cv-01327-HSG Document 208 Filed 06/24/22 Page 2 of 2




 I
 2   Dated: June 13, 2022

 3
4
 5
     Dated: June� 2022                                          MOSKOWITZ EDELMAN &
 6
7
8
 9
10
11
12
                                              ORDER
13
14   PURSUANT TO THE STIPULATION,
15
     IT IS SO ORDERED.
16
            The attached photographs shall be entered into evidence in Case No. 18-CV-01327-HSG,
17   Scott Feamster vs. Gaco Western, LLC.
18
           Date:       6/24/2022        Signature: __________
19
20                                                 Hon. Haywood S. Gilliam, Jr.
                                                   U.S. District Court Judge
21                                                 U.S. District Court of Northern California
                                                   Oakland Division
22
23
24
25
26
27
28
                                             Page 2 of2
     STIPULATION AND ORDER TO ENTER PHOTOS INTO EVIDENCE                   Case No. 18-CV--01327-HSG
